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15                       UNITED STATES DISTRICT COURT
16                     CENTRAL DISTRICT OF CALIFORNIA
17
   WILLIAM BROWN, on Behalf of                  Case No. 2:18-cv-3549
18 Himself and all Others Similarly Situated,
19                                              CLASS ACTION COMPLAINT
                          Plaintiff,
20         v.
21                                              JURY TRIAL DEMANDED
22 BLACKBAUD, INC.,
23                        Defendant.
24
25
26
27
28
     CLASS ACTION COMPLAINT
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 1            Plaintiff William Brown (“Plaintiff”), brings this class action complaint
 2      against Blackbaud, Inc. (“Blackbaud” or “Smart Tuition”). Plaintiff’s allegations are
 3      based upon personal knowledge as to his own acts and upon information and belief
 4      as to all other matters.
 5                                    NATURE OF ACTION
 6            1.     Blackbaud is a publicly traded company that specializes in providing
 7      cloud software and services for fundraising campaigns. In 2015, Blackbaud acquired
 8      a company called Smart Tuition, which provides student billing and payments
 9      processing platforms for private schools in the Kindergarten through 12th grade
10      sector. Since that time, Blackbaud has taken over all Smart Tuition operations and
11      has continued providing Smart Tuition services to private schools and parents across
12      the nation. Accordingly, for the purposes of this complaint, all references to Smart
13      Tuition and Blackbaud will refer to the Defendant, Blackbaud, Inc.
14            2.     Private schools that use Smart Tuition’s services require that parents (or
15      students themselves) sign up for a Smart Tuition account through Smart Tuition’s
16      website. Parents can then input payment methods (credit and checking accounts) and
17      make one-time and monthly tuition payments to their respective private schools
18      through Smart Tuition’s online portal. Alternatively, parents can sign up for Smart
19      Tuition services and mail payment to Smart Tuition via check. Smart Tuition then
20      transmits such tuition payments to the respective schools under agreements between
21      the schools and Smart Tuition.
22            3.     Whenever parents are late to make a tuition payment, Smart Tuition
23      charges parents set late fees (“Late Fees”) pursuant to Smart Tuition’s terms of
24      service and agreements that Smart Tuition forces parents to enter into (the “Service
25      Agreement”). The Late Fees are charged in addition to any late fees that may be
26      charged by the respective schools, and, accordingly, parents may be forced to pay
27      multiple late fees (to Smart Tuition and the school) for being late with one payment.
28

        CLASS ACTION COMPLAINT                                                                 1
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 1         4.     Smart Tuition’s provision of tuition payment services in California is
 2   and all times relevant hereto has been subject to Smart Tuition’s Service Agreement.
 3   The Service Agreement remains in effect as of the date of this Complaint. The
 4   Service Agreement provides that Smart Tuition will impose a Late Fee of a set sum
 5   (in Plaintiff’s case, $50) whenever Smart Tuition does not receive payment by a
 6   specified due date.
 7         5.     As is set forth more particularly below, Plaintiff and the members of the
 8   proposed plaintiff class are individuals who are or were Defendant’s customers who
 9   used Defendant’s services in the State of California, and who paid Late Fees in
10   connection with services rendered in the State of California.
11         6.     The Late Fees have generated substantial revenues and profits for
12   Defendant. By this complaint, Plaintiff seeks, inter alia, to permanently enjoin the
13   enforcement and threat of collection of the Late Fees and to recover as damages
14   and/or restitution all Late Fees heretofore paid by members of the plaintiff class.
15         7.     The Late Fees constitute unlawful penalties that are void and
16   unenforceable under California Civil Code § 1671 (“§ 1671”); unlawful and unfair
17   under California’s Unfair Competition Law, Bus. & Prof. Code § 17200 et seq. (the
18   “UCL”); and unconscionable under California Civil Code § 1750 et seq., the
19   Consumers Legal Remedies Act (the “CLRA”).
20         8.     Plaintiff therefore seeks, as alleged with greater particularity below, to
21   (a) permanently enjoin Defendant from collecting the Late Fees; (b) impose
22   constructive trusts on all amounts by which Defendant was unjustly enriched as a
23   result of collecting the Late Fees; (c) recover as damages and/or restitution all Late
24   Fees heretofore paid by members of the plaintiff class; and (d) obtain all such other
25   relief to which they may be entitled pursuant to Civil Code § 1671, the UCL or any
26   other applicable provision of California law, including, without limitation,
27   disgorgement, actual damages and restitution.
28

     CLASS ACTION COMPLAINT                                                                    2
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 1                                       THE PARTIES
 2         9.     Plaintiff is a citizen of California, residing in Ventura, California.
 3   Plaintiff was forced to sign up for Smart Tuition services because he had three
 4   children attend a private school in Ventura, California (Our Lady of Assumption)
 5   that required the use of Smart Tuition to make tuition payments. Two of Plaintiff’s
 6   minor children are still enrolled at the same school, and, accordingly, Plaintiff is
 7   forced to continue using Smart Tuition pursuant to the Service Agreement. Within
 8   the past four years, Plaintiff has repeatedly incurred and paid Late Fees in California
 9   pursuant to the Service Agreement for services rendered in California. Indeed, since
10   August of 2015, Defendant has charged Plaintiff a total of 28 Late Fees for purported
11   late payment of tuition under the Service Agreement, each at $50 for the respective
12   month’s past-due payment. Accordingly, since August of 2015, Defendant has
13   charged, and Plaintiff has paid, $1400 in Late Fees.
14         10.    As a result thereof, Plaintiff suffered an injury in fact resulting in the
15   loss of money and/or property.
16         11.    Defendant Blackbaud, Inc. is a corporation organized under the laws of
17   Delaware and has its principal place of business in South Carolina. At all relevant
18   times, Defendant was in the business of providing tuition payment services pursuant
19   to the Service Agreement to individuals in California. Under the Service Agreement,
20   Defendant imposed, pursued, and collected Late Fees provided for in the Service
21   Agreement in California.
22                              JURISDICTION AND VENUE
23         12.    This Court has subject matter jurisdiction over this class action pursuant
24   to the Class Action Fairness Act of 2005, Pub. L. No. 109-2, 119 Stat. 4 (“CAFA”),
25   which, inter alia, amends 28 U.S.C. § 1332, at new subsection (d), conferring federal
26   jurisdiction over class actions where, as here: (a) there are 100 or more members in
27   the proposed Class; (b) some members of the proposed Class have a different
28   citizenship from Defendant; and (c) the claims of the proposed Class members
     CLASS ACTION COMPLAINT                                                                    3
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 1   exceed the sum or value of five million dollars ($5,000,000) in aggregate. See 28
 2   U.S.C. § 1332(d)(2) and (6).
 3          13.       This Court has personal jurisdiction over Defendant because Defendant
 4   is registered with the California Secretary of State to conduct business within
 5   California and conducts substantial business within California, such that Defendant
 6   has significant, continuous, and pervasive contacts with the State of California.
 7          14.       Venue is proper in this Court under 28 U.S.C. § 1381(b) because
 8   Defendant transacts significant business within this District. Venue is also proper
 9   under 28 U.S.C. § 1391(c) because Defendant is subject to personal jurisdiction in
10   this District.
11                                   FACTUAL ALLEGATIONS
12          15.       Smart Tuition provides an electronic tuition and fee payment platform
13   to parents of private school students in the State of California. Specifically, many
14   schools throughout California require the parents of their students to sign up for
15   Smart Tuition’s online portal and to make all tuition and fee payments through Smart
16   Tuition.
17          16.       To use Smart Tuition’s services, Smart Tuition requires that customers
18   create an online account and agree to a Service Agreement. Alternatively, parents
19   can sign up for Smart Tuition services subject to the Service Agreement and mail
20   payment to Smart Tuition via check. The Service Agreement was drafted entirely by
21   Defendant and/or its affiliates, is not subject to modification or negotiation and is
22   presented to prospective customers on a “take it or leave it” basis. The Service
23   Agreement is a contract of adhesion under California law.
24          17.       Plaintiff is, and at all times relevant hereto has been, a Smart Tuition
25   user subject to the Service Agreement.
26          18.       The Service Agreement has at all times relevant hereto included a Late
27   Fee provision which provides for the imposition of Late Fees. The Service
28   Agreement provides that Smart Tuition will impose a Late Fee of a set sum (in
     CLASS ACTION COMPLAINT                                                                      4
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 1   Plaintiff’s case, $50) whenever Smart Tuition does not receive payment by a
 2   specified due date.
 3         19.    Defendant has in fact imposed such Late Fees on, and collected them
 4   from, Plaintiff and other members of the proposed class.
 5         20.    Defendant has collected significant revenues from imposing Late Fees
 6   on Plaintiff and the members of the proposed class.
 7         21.    If and to the extent that Defendant suffers, would suffer or has suffered
 8   any damage upon late payment, it is neither impracticable nor extremely difficult to
 9   fix the actual damage. Furthermore, if and to the extent that Defendant suffers,
10   would suffer, or has suffered any damage upon late payment, the Late Fees are not a
11   reasonable measure or approximation of such damages and do not provide fair
12   average compensation therefor. Moreover, they are – and under the circumstances
13   existing at the time the Service Agreement was made, were – unreasonable. On
14   information and belief, Defendant did not conduct a reasonable endeavor to fix fair
15   average compensation for losses, if any, that it incurs, would incur or has incurred by
16   virtue of late payments. The Late Fees were not negotiated or discussed with
17   Plaintiff or the members of the proposed class.
18         22.    The Late Fees imposed by Defendant are unconscionable, void and
19   unenforceable under Civil Code §§ 1670.5, 1671(b) and/or 1671(d), constitute an
20   unlawful, unfair and deceptive practice under the UCL, and violate the CLRA,
21   including without limitation Civil Code §§ 1770(a)(14) and 1770(a)(19).
22                            CLASS ACTION ALLEGATIONS
23         23.    Plaintiff brings this action as a class action under Federal Rule of Civil
24   Procedure 23 on behalf of the following class (the “Class”):
25
           All California residents who paid one or more Late Fees imposed by
26         Defendant pursuant to the Service Agreement with respect to tuition
           obligations imposed by a school located within California. Any judicial
27         officer to whom the Action is assigned is excluded from the Class. Defendant,
           the officers and directors of the Defendant at all relevant times, members of
28         their immediate families and their legal representatives, heirs, successors or
     CLASS ACTION COMPLAINT                                                                5
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           assigns, and any entity in which Defendant has or had a controlling interest are
 1
           also excluded from the Class.
 2
           24.      Plaintiff is a member of the Class he seeks to represent.
 3
           25.      The Class is so numerous that joinder of all members is impractical.
 4
     Although Plaintiff does not yet know the exact size of the Class, dozens, and
 5
     potentially hundreds, of schools (with hundreds or thousands of parents per school)
 6
     in California require parents to use Smart Tuition for tuition payments. Many
 7
     parents have complained online about being forced to pay late fees to Smart Tuition.
 8
           26.      The Class is ascertainable because the Class members can be identified
 9
     by objective criteria – the payment of Late Fees during the Class Period, as can be
10
     ascertained through Defendant’s records. Individual notice can be provided to Class
11
     members “who can be identified through reasonable effort.” Fed. R. Civ. P.
12
     23(c)(2)(B).
13
           27.      There are numerous questions of law and fact common to the Class
14
     which predominate over any individual actions or issues, including but not limited
15
     to:
16
           (a) Whether Defendant’s Late Fees are illegal, void and unenforceable
17
                 contractual penalties pursuant to Civil Code § 1671(d);
18
           (b) Whether damages are extremely difficult or impracticable to determine;
19
           (c) Whether Defendant conducted a reasonable endeavor, prior to imposing the
20
                 Late Fees or including them in the Service Agreement, to fix fair average
21
                 compensation for losses, if any, that it suffers when its customers pay late,
22
                 and if so, whether the Late Fees reflect the results of such a reasonable
23
                 endeavor;
24
           (d) Whether Defendant’s Late Fees are unconscionable;
25
           (e) Whether Defendant’s Late Fees violate the UCL;
26
           (f) Whether Defendant’s Late Fees violate the CLRA;
27
           (g) Whether Class Members suffered an ascertainable loss as a result of
28
                 Defendant’s Late Fees;
     CLASS ACTION COMPLAINT                                                                  6
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 1         (h) Whether, as a result of Defendant’s misconduct as alleged herein, Plaintiff
 2               and the Class members are entitled to restitution, disgorgement, injunctive
 3               and/or monetary relief and, if so, the amount and nature of such relief; and
 4         (i) Whether Plaintiff and the Class Members are entitled to an award of
 5               reasonable attorneys’ fees, pre-judgment interest and costs of this suit.
 6         28.      Plaintiff’s claims are typical of the claims of the members of the Class,
 7   having paid Late Fees to Defendant pursuant to the Service Agreement. Plaintiff and
 8   the proposed Class have similarly suffered harm arising from Defendant’s violations
 9   of the law, as alleged herein.
10         29.      Plaintiff is an adequate representative of the Class because his interests
11   do not conflict with the interests of the Class Members he seeks to represent, he has
12   retained counsel competent and experienced in prosecuting class action, and he
13   intends to prosecute this action vigorously. Plaintiff and his counsel will fairly and
14   adequately protect the interests of the Class members.
15         30.      The class mechanism is superior to other available means for the fair
16   and efficient adjudication of the claims of Plaintiff and the Class Members. Each
17   individual Class Member may lack the resources to undergo the burden and expense
18   of individual prosecution of the complex and extensive litigation necessary to
19   establish Defendant’s liability. Individualized litigation increases the delay and
20   expense to all parties and multiplies the burden on the judicial system presented by
21   the complex legal and factual issues of this case. Individualized litigation also
22   presents a potential for inconsistent or contradictory judgments. In contrast, the class
23   action device presents far fewer management difficulties and provides the benefits of
24   single adjudication, economy of scale, and comprehensive supervision by a single
25   court on the issue of Defendant’s liability. Class treatment of the liability issues will
26   ensure that all claims are consistently adjudicated.
27

28

     CLASS ACTION COMPLAINT                                                                   7
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 1                               FIRST CAUSE OF ACTION
 2                       Violation of California Civil Code § 1671(d)
 3         31.    Plaintiff incorporates herein by reference the allegations contained in all
 4   preceding paragraphs of this complaint.
 5         32.    Plaintiff brings this claim individually and on behalf of the members of
 6   the Class against Defendant.
 7         33.    The Late Fees are impermissible liquidated damages provisions under
 8   California law. The Late Fees themselves, the contractual provisions that provide for
 9   them and their imposition and collection by Defendant violate Civil Code § 1671(d)
10   and are unlawful, void and unenforceable under that statute.
11         34.    Civil Code § 1671(d) states that a contractual provision, in a contract for
12   the retail purchase or rental of personal property or services primarily for the party’s
13   personal, family, or household purposes, liquidating damages for the breach of the
14   contract, is void except that the parties to such a contract may agree therein on an
15   amount that shall be presumed to be the amount of the damage sustained by a breach
16   thereof, when, from the nature of the cause, it would be impracticable or extremely
17   difficult to fix that actual damage. The Service Agreement is a contract for the
18   purchase of services primarily for personal, family or household use of Plaintiff and
19   the members of the Class.
20         35.    If and to the extent that Defendant suffers, would suffer or has suffered
21   any damages due to late payments by Plaintiff or members of the Class, it would not
22   be impracticable, nor would it be extremely difficult, to determine them with
23   certainty. Furthermore, the liquidated damages in the Service Agreement do not
24   reflect a reasonable endeavor by Defendant to fix fair average compensation for any
25   harm that Defendant would suffer, may suffer or have suffered, if any, from the late
26   payment of tuition. The Service Agreement is a contract of adhesion drafted by
27   Defendant and/or its parents, subsidiaries or affiliates and presented to prospective
28   customers on a “take it or leave it” basis with no opportunity for any prospective
     CLASS ACTION COMPLAINT                                                                  8
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 1   customer to negotiate any of its terms and conditions. The Late Fees provision in the
 2   Service Agreement is a liquidated damages provision that fails to comply with the
 3   standards set forth in Civil Code § 1671(d), and therefore constitutes impermissible
 4   contractual penalties. Defendant’s imposition of Late Fees on Plaintiff and the
 5   members of the Class violates, and at all times relevant here to has violated, §
 6   1671(d). Defendant’s collection of Late Fees from Plaintiff and the members of the
 7   Class likewise violates, and at all times relevant hereto has violated, Civil Code §
 8   1671(d).
 9            36.      Plaintiff and the members of the Class have suffered an injury in fact
10   resulting in the loss of money and/or property as a proximate result of the violations
11   of law and wrongful conduct of Defendant alleged herein. Pursuant to Civil Code §
12   1671(d), Plaintiff, individually and on behalf of the members of the Class, seeks an
13   order of this Court preliminarily and permanently enjoining Defendant from further
14   enforcement and collection of Late Fees as alleged herein. Plaintiff also seeks an
15   order:
16                  a. Requiring Defendant to cease their unlawful acts and practices;
17                  b. Directing Defendant to make full restitution of all monies wrongfully
18                     obtained;
19                  c. Forcing Defendant to disgorge all ill-gotten revenues and/or profits; and
20                  d. Providing such other and further relief as may be just and proper.
21            WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
22                                   SECOND CAUSE OF ACTION
23                         Violation of the Consumers Legal Remedies Act,
24                                 California Civil Code §§ 1750 et seq.
25                                        (Injunctive relief only)
26            37.      Plaintiff incorporates herein by reference the allegations contained in all
27   preceding paragraphs of this complaint.
28

     CLASS ACTION COMPLAINT                                                                     9
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 1         38.    Plaintiff brings this claim individually and on behalf of the members of
 2   the Class against Defendant.
 3         39.    Defendant has engaged in deceptive practices, unlawful methods of
 4   competition and/or unfair acts as defined by Civil Code § 1750, et seq., to the
 5   detriment of Plaintiff and the members of the Class. Plaintiff and the members of the
 6   Class have suffered harm as a proximate result of the violations of law and wrongful
 7   conduct of Defendant alleged herein.
 8         40.    Defendant intentionally, knowingly, and unlawfully perpetrated harm
 9   upon Plaintiff and the Class members by inserting unconscionable, unenforceable
10   and illegal provisions in their Agreements with Plaintiff and the Class members in
11   violation of Civil Code § 1770(a)(19), and by enforcing those provisions. By
12   inserting an unconscionable, unenforceable and void Late Fees provision in the
13   Service Agreement, and then enforcing that provision by imposing and collecting
14   Late Fees, Defendant also violated Civil Code § 1770(a)(14), which prohibits them
15   from representing that a transaction confers or involves rights, remedies, or
16   obligations which it does not have or involve, or which are prohibited by law.
17         41.    Defendant’s policy and practice with respect to their inclusion of Late
18   Fees in their Service Agreement and their collection of Late Fees is unlawful,
19   unethical, oppressive, fraudulent and malicious. The gravity of the harm to all
20   consumers from Defendant’s policies and practices far outweighs any purported
21   utility those policies and practices have.
22         42.    Plaintiff and the members of the Class have suffered harm as a
23   proximate result of the violations of law and wrongful conduct of Defendant alleged
24   herein and will continue to suffer such harm if Defendant’s illegal practices are not
25   abated.
26         43.    Under California Civil Code § 1780(a), Plaintiff and members of the
27   Class seek injunctive and equitable relief for Defendant’s violations of the CLRA.
28   Plaintiff has mailed an appropriate demand letter consistent with California Civil
     CLASS ACTION COMPLAINT                                                               10
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 1   Code § 1782(a). If Defendant fails to take corrective action within 30 days of receipt
 2   of the demand letter, Plaintiff will amend his complaint to include a request for
 3   damages as permitted by Civil Code § 1782(d).
 4         WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
 5                              THIRD CAUSE OF ACTION
 6       Unlawful Business Practices in Violation of the Unfair Competition Law
 7               California Business and Professions Code §§ 17200 et seq.
 8         44.    Plaintiff incorporates herein by reference the allegations contained in all
 9   preceding paragraphs of this complaint.
10         45.    Plaintiff brings this claim individually and on behalf of the members of
11   the Class against Defendant.
12         46.    Defendant’s continuing imposition, enforcement and collection of
13   unlawful, unconscionable and unenforceable Late Fees constitutes an unlawful
14   business practice in violation of Bus. & Prof. Code §§ 17200 et seq. Plaintiff and the
15   members of the Class have suffered harm as a proximate result of the violations of
16   law and wrongful conduct of Defendant alleged herein.
17         47.    Civil Code § 1671(d) states that a provision in a contract liquidating
18   damages for the breach of the contract is void except that the parties to such a
19   contract may agree therein on an amount that shall be presumed to be the amount of
20   the damage sustained by a breach thereof, when, from the nature of the case, it would
21   be impracticable or extremely difficult to fix the actual damage.
22         48.    The Late Fees charged by Defendant to, and collected by Defendant
23   from, Plaintiff and the members of the Class are unlawful liquidated damages
24   provisions under Civil Code § 1671(d) for the reasons set forth above. As a result of
25   their inclusion of the Late Fees provisions in the Service Agreement, and their
26   imposition and collection of the Late Fees, Defendant has violated Civil Code §
27   1671(d).
28

     CLASS ACTION COMPLAINT                                                                11
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 1         49.      The inclusion of the Late Fees provision in the Service Agreement, and
 2   Defendant’s imposition of the Late Fees on, and collection of the Late Fees from,
 3   Plaintiff and the members of the Class also violate Civil Code § 1670.5 because the
 4   Late Fees are unconscionable. Prospective customers have no meaningful choice
 5   with respect to the inclusion of the Late Fees in the Service Agreement nor in the
 6   amount of the Late Fees. The Service Agreement is drafted by Defendant and
 7   presented to prospective members on a “take it or leave it” basis with no opportunity
 8   or possibility of negotiating any different terms and conditions with Defendant.
 9         50.      The Late Fees are unreasonably favorable to Defendant and unduly
10   harsh with respect to Defendant’s customers, and therefore, are substantively
11   unconscionable. For example, the Late Fees have no relationship whatsoever to any
12   damages incurred by Defendant, if any, as a result of late payment by customers.
13         51.      The Late Fees charged to Plaintiff and the members of the Class also
14   violate the Consumers Legal Remedies Act, Civil Code § 1750 et seq., as they are
15   unconscionable, unenforceable and illegal provisions in violation of Civil Code §§
16   1770(a)(14) and 1770(a)(19).
17         52.      Plaintiff and the members of the Class have suffered an injury in fact
18   resulting in the loss of money or property as a result of having paid the Late Fees.
19         53.      Pursuant to Bus. & Prof. Code § 17203, Plaintiff seeks an order of this
20   Court permanently enjoining Defendant from continuing to engage in their unfair
21   and unlawful conduct as alleged herein. Plaintiff also seeks, inter alia, an order
22   requiring Defendant to:
23               a. Immediately cease their unlawful acts and practices;
24               b. Make full restitution of all monies wrongfully obtained; and
25               c. Disgorge all ill-gotten revenues and/or profits.
26         WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
27

28

     CLASS ACTION COMPLAINT                                                                  12
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 1                             FOURTH CAUSE OF ACTION
 2       Unfair Business Practices in Violation of Business and Professions Code
 3                                      §§ 17200 et seq.
 4         54.    Plaintiff incorporates herein by reference the allegations contained in all
 5   preceding paragraphs of this complaint.
 6         55.    Plaintiff brings this claim individually and on behalf of the members of
 7   the Class against Defendant.
 8         56.    The conduct of Defendant, as herein alleged, constitutes an unfair
 9   business practice within the meaning of Bus. & Prof. Code §§ 17200, et seq.
10         57.    Defendant violated the “unfair” prong of the UCL by requiring
11   customers to enter into contracts of adhesion that include the Late Fees provision, by
12   enforcing the contractual provisions that provide for the imposition of the Late Fees
13   and by imposing and collecting the Late Fees.
14         58.    Defendant’s said practices with respect to Late Fees violate the “unfair”
15   prong of the UCL because the Late Fees: (1) constitute unfair and wrongful penalties
16   inconsistent with the language and policy of Civil Code § 1671; and (2) constitute
17   unconscionable provisions, in violation of various laws and policies recognized by
18   the California Legislature and the California courts, including without limitation
19   Civil Code § 1670.5 and the CLRA.
20         59.    Defendant’s said practices with respect to the Late Fees also violate the
21   “unfair” prong of the UCL because the utility of the Late Fees is significantly
22   outweighed by the gravity of the harm that they impose on consumers. The Late
23   Fees have limited or no utility as compared with alternatives that would more fairly
24   measure the harm (if any) incurred by Defendant when a customer makes a late
25   payment. The gravity of the harm that the Late Fees impose on consumers is
26   substantial in that they exceed the actual amount of harm (if any) incurred by
27   Defendant when a member makes a late payment. Through their imposition and
28   collection of the Late Fees from the members of the Class, Defendant has been
     CLASS ACTION COMPLAINT                                                               13
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 1   massively and unjustly enriched. Defendant’s Late Fees also violate the “unfair”
 2   prong of the UCL because their inclusion in the Service Agreement, imposition and
 3   collection are and at all times relevant hereto have been oppressive, unscrupulous or
 4   substantially injurious to consumers.
 5         60.       Defendant’s said practices with respect to the Late Fees also violate the
 6   “unfair” prong of the UCL because the Late Fees, the provision of the Service
 7   Agreement imposing the Late Fees, and Defendant’s enforcement of them through
 8   the imposition and collection thereof cause substantial harm that is not outweighed
 9   by countervailing benefits to consumers or competition, and consumers could not
10   reasonably have avoided the harm.
11         61.       Defendant’s practices with respect to the Late Fees also violate the
12   “unfair” prong of the UCL for the reasons set forth in the Third Cause of Action,
13   above.
14         62.       Plaintiff and the members of the Class have suffered an injury in fact
15   resulting in the loss of money or property as a result, inter alia, of having paid the
16   Late Fees.
17         63.       Pursuant to Bus. & Prof. Code § 17203, Plaintiff seeks an order of this
18   Court permanently enjoining Defendant from continuing to engage in their unfair
19   and unlawful conduct as alleged herein. Plaintiff also seeks an order, inter alia,
20   requiring Defendant to:
21               a. Immediately cease their unlawful acts and practices;
22               b. Make full restitution of all monies wrongfully obtained; and
23               c. Disgorge all ill-gotten revenues and /or profits.
24         WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
25                                    PRAYER FOR RELIEF
26         WHEREFORE, Plaintiff, individually and on behalf of the members of the
27   Class, prays:
28

     CLASS ACTION COMPLAINT                                                                   14
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 1     A. For an order certifying the Class and appointing Plaintiff and the undersigned
 2        counsel of record to represent the Class;
 3     B. For a permanent injunction enjoining Defendant, their partners, joint ventures,
 4        subsidiaries, agents, servants, and employees, and all persons acting under, in
 5        concert with them directly or indirectly, or in any manner, from in any way
 6        engaging in the unfair and unlawful practices and violations of law set forth
 7        herein;
 8     C. For full restitution of all funds acquired from Defendant’s unfair business
 9        practices and other violations of law, including disgorgement of profits;
10     D. For imposition of a constructive trust upon all monies and assets Defendant
11        has acquired as a result of their unfair practices;
12     E. For damages according to proof;
13     F. For a judicial declaration regarding the validity of Defendant’s liquidated
14        damages provisions in the Service Agreement;
15     G. For costs of suit herein;
16     H. For both pre- and post-judgment interest on any amounts awarded;
17     I. For payment of reasonable attorneys’ fees; and
18     J. For such other and further relief as the Court may deem proper.
19                             DEMAND FOR JURY TRIAL
20        Plaintiff hereby demands a trial by jury.
21

22   Dated: April 26, 2018                  Respectfully submitted,
23                                          BURSOR & FISHER, P.A.
24                                          By:          /s/ Yeremey O. Krivoshey
25                                                       Yeremey O. Krivoshey

26                                          L. Timothy Fisher (State Bar No. 191626)
                                            Joel D. Smith (State Bar No. 244902)
27                                          Yeremey O. Krivoshey (State Bar No.295032)
                                            Thomas A. Reyda (State Bar No. 312632)
28

     CLASS ACTION COMPLAINT                                                               15
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                                       Counsel for Plaintiff
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     CLASS ACTION COMPLAINT                                                     16
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 1     CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2

 3          I, Yeremey Krivoshey, declare as follows:

 4          1.     I am counsel for Plaintiff, and I am an associate at Bursor & Fisher,

 5   P.A. I make this declaration to the best of my knowledge, information, and belief of

 6   the facts stated herein.

 7          2.     The complaint filed in this action is filed in the proper place for trial

 8   because a substantial portion of the transactions occurred in this District, in that

 9   Plaintiff alleges that he incurred and paid late fees as alleged in the complaint in this

10   District.

11          3.     Further, Defendant is registered to conduct business with the California

12   Secretary of State and transacts a substantial amount of business within this District.

13          I declare under the penalty of perjury under the laws of the State of California

14   that the foregoing is true and correct, executed on April 26, 2018 at Walnut Creek,

15   California.

16
                                                   /s/ Yeremey Krivoshey
17                                                   Yeremey Krivoshey
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